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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 MR. JEREMY LEVIN, DR. LUCILLE                   Case No. 1:09-cv-05900-JPO-RLE
 LEVIN, and SUZELLE M. SMITH,
 TRUSTEE OF THE JEREMY                           M18-302
 ISADORE LEVIN 2012 REVOCABLE
 TRUST, AS AMENDED,
                                                 EX PARTE APPLICATION AND
                          Plaintiffs,            MOTION FOR COURT
                                                 ORDERED WRIT OF
         -v-                                     EXECUTION PURSUANT TO 28
                                                 U.S.C. §1610
 ISLAMIC REPUBLIC OF IRAN;
 IRANIAN MINISTRY OF
 INFORMATION AND SECURITY;
 and IRANIAN ISLAMIC
 REVOLUTIONARY GUARD CORPS,

                          Defendants.



       Petitioners Dr. Lucille Levin and Suzelle M. Smith, Trustee of the Jeremy

Isadore Levin 2012 Revocable Trust, as amended, a real party in interest,

(“Petitioners” or “Judgment Creditors”) move the Court and submit this application

pursuant to 28 U.S.C. § 1610(c) for an ex parte Order finding that a reasonable period

of time has elapsed and directing the Clerk to issue a writ of execution to enforce

judgments entered in Dr. Lucille Levin and the late Jeremy Levin’s (the “Levins”)

favor against the Islamic Republic of Iran, the Iranian Ministry of Information and

Security, and the Iranian Islamic Revolutionary Guard Corps (“Iranian Judgment

Debtors”) in an action brought under 28 U.S.C. § 1605(a)(7). Levin v. Islamic

Republic of Iran, 529 F. Supp. 2d 1, 5-13 (D.D.C. 2007). Prior to his death, Mr.

Levin assigned and transferred all rights and/or interests in his judgment to the Jeremy
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Isadore Levin 2012 Revocable Trust. Dkt. 1298 ¶ 5. On April 20, 2020, this Court

ordered Ms. Smith, as Trustee of the Jeremy Isadore Levin 2012 Revocable Trust, as

amended, be substituted for Mr. Levin as plaintiff and judgment creditor in this

action. Dkt. 1300. Filed concurrently herewith are Petitioners’ Memorandum of Law

(“Memorandum”) and the Declaration of Suzelle Smith (“Smith Decl.”) in Support of

the Motion and Application.

        Petitioners have identified property of the Iranian Judgment Debtors and their

agencies and instrumentalities (“the Property”), including but not limited to assets,

namely $9,998,941.91 associated with the petroleum tanker Nautic (a/k/a Gulf Sky),

with International Maritime Organization (“IMO”) number 9150377, held by Wells

Fargo Bank, N.A. (“Wells Fargo”), who maintains branches in this District. See

Exhibit C to Smith Decl.

        Petitioners hereby seek a court ordered writ of execution under 28 U.S.C. §

1610 in order to levy on the Property in possession of Wells Fargo.

        WHEREFORE, Petitioners pray (1) that their ex parte application and motion

be granted; (2) that the Court enter the Proposed Order, attached hereto as Exhibit A,

finding that, pursuant to 28 U.S.C. § 1610(c), a reasonable period of time has elapsed

following the entry of judgment against Iranian Judgment Debtors and the giving of

any notice required under 28 U.S.C. § 1608(e); (3) that the Court direct the Clerk to

issue a writ of execution with respect to the Property for the judgments registered by

the Levins in this Court; and (4) that the Court find that Clerk of this Court is

authorized and directed to issue such further writs in aid of execution as warranted

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under, and in accordance with, Rule 69 of the Federal Rules of Civil Procedure,

consistent with the Court’s Order.



Dated: August 11, 2020                  HOWARTH & SMITH


                                By:      /s/ Suzelle M. Smith
                                        Suzelle M. Smith
                                        Howarth & Smith
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                                        Attorney for Plaintiffs/Judgment Creditors




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